66 F.3d 315
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin Burkley FOLEY, Petitioner-Appellant,v.WARDEN, Nottoway Correctional Center, Respondent-Appellee.
    No. 95-6706.
    United States Court of Appeals, Fourth Circuit.
    Sept. 14, 1995.
    
      Melvin Burkley Foley, Appellant Pro Se.
      Katherine P. Baldwin, Office of the Attorney General of Virginia, Richmond, VA, for Appellee.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the magistrate judge's* order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the magistrate judge's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Foley v. Warden, Nottoway Correctional Ctr., No. CA-95-119-R (E.D.Va. May 1, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The parties consented to the jurisdiction of the magistrate judge with appeal to this court.  28 U.S.C. Sec. 636(c) (1988)
      
    
    